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                                                                   2   Malhar S. Pagay (CA Bar No. 189289)
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                                                                   6              jdulberg@pszjlaw.com
                                                                                  mpagay@pszjlaw.com
                                                                   7
                                                                       Attorneys for Yueting Jia, Debtor and Debtor in Possession
                                                                   8
                                                                                                     UNITED STATES BANKRUPTCY COURT
                                                                   9
                                                                                                      CENTRAL DISTRICT OF CALIFORNIA
                                                                  10
                                                                                                               LOS ANGELES DIVISION
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       In re:                                                 Case No.: 2:19-bk-24804-VZ
                                                                  12
                                                                       YUETING JIA,1                                          Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                        Debtor.               NOTICE OF HEARING ON DEBTOR’S
                                                                  14                                                          RENEWED MOTION FOR AN ORDER
                                                                                                                              (I) APPROVING THIRD AMENDED
                                                                  15                                                          DISCLOSURE STATEMENT, (II) APPROVING
                                                                                                                              VOTING AND TABULATION PROCEDURES,
                                                                  16                                                          (III) SETTING CONFIRMATION HEARING
                                                                                                                              AND RELATED DEADLINES, (IV) WAIVING
                                                                  17                                                          CERTAIN LOCAL RULES AND
                                                                                                                              PROCEDURES, AND (V) GRANTING
                                                                  18                                                          RELATED RELIEF

                                                                  19                                                          [Relates to Docket Nos. 401 and 402]

                                                                  20                                                          Hearing Date and Time
                                                                                                                              Date:       March 19, 2020
                                                                  21                                                          Time:       9:30 a.m.
                                                                                                                              Place:      Courtroom 1368
                                                                  22                                                                      Roybal Federal Building
                                                                                                                                          255 E. Temple Street
                                                                  23                                                                      Los Angeles, California 90012
                                                                                                                              Judge:     Hon. Vincent P. Zurzolo
                                                                  24

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                                                                         The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is
                                                                  28   91 Marguerite Drive, Rancho Palos Verdes, CA 90275.


                                                                       DOCS_LA:328075.1 46353/002
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                                                                   1            PLEASE TAKE NOTICE that the Renewed Motion For an Order (I) Approving Third

                                                                   2   Amended Disclosure Statement, (II) Approving Voting and Tabulation Procedures, (III) Setting

                                                                   3   Confirmation Hearing And Related Deadlines, (IV) Waiving Certain Local Rules and Procedures,

                                                                   4   and (V) Granting Related Relief (the “Renewed Solicitation Motion”) [Docket No. 401], filed by

                                                                   5   Yueting Jia, debtor herein, will be heard on shortened notice on March 19, 2020, at 9:30 a.m., before

                                                                   6   the Honorable Vincent P. Zurzolo, United States Bankruptcy Court, Courtroom 1368, 255 E. Temple

                                                                   7   Street, Los Angeles, CA 90012.

                                                                   8            PLEASE TAKE FURTHER NOTICE that, pursuant to the Order Granting Application

                                                                   9   and Setting Hearing on Shortened Notice [Docket No. 404], any opposition to the Renewed

                                                                  10   Solicitation Motion must be filed and served by either personal delivery, overnight mail, or email, on

                                                                  11   counsel listed on the caption of the first page of this notice, and by mail or personal delivery service
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   on (a) Kelly L. Morrison, Esq., Office of the United States Trustee, 915 Wilshire Blvd., Suite 1850,
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Los Angeles, CA 90017 and (b) Hon. Vincent P. Zurzolo, United States Bankruptcy Court, 255 East
                                           ATTORNEYS AT LAW




                                                                  14   Temple Street, Suite 1360, Los Angeles, CA 90012, so as to be delivered no later than March 11,

                                                                  15   2020 at 4:00 p.m. (Pacific Standard Time).

                                                                  16
                                                                       Dated:     March 3, 2020                      PACHULSKI STANG ZIEHL & JONES LLP
                                                                  17

                                                                  18                                                 By       /s/ Malhar S. Pagay
                                                                                                                              Richard M. Pachulski (CA Bar No. 90073)
                                                                  19                                                          Jeffrey W. Dulberg (CA Bar No. 181200)
                                                                                                                              Malhar S. Pagay (CA Bar No. 189289)
                                                                  20                                                          10100 Santa Monica Blvd., 13th Floor
                                                                                                                              Los Angeles, CA 90067
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                                         PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                           10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

 A true and correct copy of the foregoing document entitled (specify): NOTICE OF HEARING ON DEBTOR’S RENEWED
 MOTION FOR AN ORDER (I) APPROVING THIRD AMENDED DISCLOSURE STATEMENT, (II) APPROVING VOTING
 AND TABULATION PROCEDURES, (III) SETTING CONFIRMATION HEARING AND RELATED DEADLINES,
 (IV) WAIVING CERTAIN LOCAL RULES AND PROCEDURES, AND (V) GRANTING RELATED RELIEF will be served or
 was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
 below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 March 3, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                          Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date) March 3, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case
 or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
 class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
 will be completed no later than 24 hours after the document is filed.


                                                                                          Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) March 3, 2020, I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


  VIA PERSONAL DELIVERY
  United States Bankruptcy Court
  Central District of California
  Attn: Hon. Vincent Zurzolo
  Edward R. Roybal Federal Bldg./Courthouse
  255 East Temple Street, Suite 1360
  Los Angeles, CA 90012
                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 March 3, 2020                Nancy H. Brown                                                  /s/ Nancy H. Brown
 Date                         Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

        Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com
        Jerrold L Bregman ecf@bg.law, jbregman@bg.law
        Jeffrey W Dulberg jdulberg@pszjlaw.com
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        Benjamin Taylor btaylor@taylorlawfirmpc.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Emily Young pacerteam@gardencitygroup.com, rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com




    This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                            F 9013-3.1.PROOF.SERVICE
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